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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

                                                     CASE NO. 3:16-cv-01356-HES-PDB
MICHELE LANDAU,

       Plaintiff,

v.

NORTHLAND GROUP, INC., and
CAPITAL ONE BANK (USA), N.A.

      Defendants.
_____________________________________/

                                 NOTICE OF SETTLEMENT

       Notice is hereby given that the parties have reached a settlement in this case. Plaintiff

respectfully requests that this Court allow sixty (60) days within which to complete the settlement,

during which time Plaintiff requests the Court to retain jurisdiction over this matter until fully

resolved and final dismissal paperwork may be filed.

Dated: March 8, 2017.
                                              Respectfully submitted,

                                              /s/ Alex D. Weisberg
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                                  CERTIFICATE OF SERVICE


       I certify that on March 8, 2017, I filed the foregoing document with the Court using

CM/ECF, which will send notification of such filing to all counsel of record.

                                             /s/ Alex D. Weisberg
                                             Alex D. Weisberg




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